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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                      )
JANSSEN BIOTECH, INC.,                                )
                Plaintiff,                            )
                                                      )       Case No. 1:17-cv-11008-MLW
                                                      )
v.                                                    )
                                                      )
CELLTRION HEALTHCARE CO., LTD.,                       )
CELLTRION, INC., and                                  )
HOSPIRA, INC.                                         )
                  Defendants.                         )
                                                      )

                    JANSSEN’S MOTION TO SEAL
  THE MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR SUMMARY
JUDGMENT ON THE ISSUE OF NON-INFRINGING ALTERNATIVES, STATEMENT
        OF MATERIAL FACTS L.R. 56.1 AND EXHIBITS 1-29 AND 32-54

       Pursuant to Local Rules 7.1 and 7.2 of the United States District Court for the District of

Massachusetts, plaintiff Janssen Biotech, Inc. moves for leave to file under seal the

Memorandum of Law in Support of its Motion for Summary Judgment on the Issue of Non-

Infringing Alternatives, Statement of Material Facts L.R. 56.1 and Exhibits 1-29 and 32-54 to the

Statement of Material Facts. In support of this motion, Plaintiff states as follows:

       1. Janssen intends to file the Memorandum of Law in Support of its Motion for

           Summary Judgment on the Issue of Non-Infringing Alternatives, Statement of

           Material Facts L.R. 56.1 and Exhibits 1-29 and 32-54 to the Statement of Material

           Facts today.

       2. The Memorandum of Law, Statement of Facts and Exhibits 1-29 and 32-54 contain

           reference to, and discussion of, certain confidential information that may be

           considered proprietary by the Plaintiffs and Defendants.
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     3. To minimize the impact of sealing, Janssen will file a redacted version of the

        Memorandum of Law through the Court’s electronic filing system.

     4. The granting of this motion will not prejudice any party.

     5. The Defendants assent to the relief requested.



Dated: May 4, 2018                             Respectfully Submitted,
                                               JANSSEN BIOTECH, INC.

                                               By its attorneys,

                                               /s/ Alison C. Casey

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                                               Attorneys for Janssen Biotech, Inc.
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                           LOCAL RULES 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1(A)(2), I certify that plaintiff’s counsel conferred with
defendants’ counsel on the subject of this motion and was advised that the defendants assent to
the relief requested.


                                                     /s/ Alison C. Casey

                                CERTIFICATE OF SERVICE

        I certify that on May 4, 2018 this document, filed through the ECF system, will be sent
electronically to the parties or their counsel who are registered participants as identified on the
Notice of Electronic Filing.

                                                     /s/ Alison C. Casey
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